                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                  CHARLESTON DIVISION

UNITED STATES OF AMERICA,                       )   Criminal No. 2:19-cr-00441-RMG
                                                )
                                   Plaintiff,   )
                                                )
                vs.                             )
                                                )        NOTICE OF REQUEST FOR
AMIR GOLESTAN and MICFO, LLC,                   )       PROTECTION FROM COURT
                                                )             APPEARANCE
                                Defendants.     )
                                                )
                                                )
                                                )

       E. Bart Daniel, appearing for Defendants Amir Golestan and Micfo, LLC, hereby

requests the Court grant him protection from Court appearances from August 30, 2021 through

September 13, 2021. The request for the protection is based upon Mr. Daniel traveling for out-of-

country vacation plans with his family.


                                 NELSON MULLINS RILEY & SCARBOROUGH LLP

                                 By: s/ E. BART DANIEL
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                                     Counsel for Defendants Amir Golestan and Micfo, LLC

Charleston, South Carolina

June 22, 2021
